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            FORM TO BE USED BY PRISONERS IN FILING A COMPLAINT
                     UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983
in the UNITED STATES DISTRICT COURT for the SOUTHERN DISTRICT of GEORGIA



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                                                                                      "'®d in Office

                                                                               —mttF                       "
(Enter above full name of plaintiff or plaintiffs)                                    Deputy Clerk

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        AA           r             4 f) -e^ I Q-pyx e, J,
(Enter above full rtame of defendantor defendants)

I.     Previous lawsuits


       A,      Have you begunother lawsuits in state or federal court dealingwith the same facts
               involved inthis action?                                        Yes ^        No

               If your answer to A is yes, describe eachlawsuit in the space below. (If there is more
               than one lawsuit,describe the additional lawsuitson another piece ofpaper, using the
               same outline.)

                1.       Parties to this previous lawsuit;

                         Plaintiffs:      RO                 4 I.         i                     I ^



                         Defendants:



               2.        Court (if federal court, namethe district; if state court, name the counW):
                                 IJ nrl-tr I                                                    7
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                                                                         ^                      f\'i4oy^ ley
               3.        Docket number:                                                                —


               4.        Name of judge assigned to case:
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            S.     Disposition
                   (forexample, was thecase dismissed? appealed? is it stillpending?):
                             Undent                    ;•/I i/e-xl-
            6.     Approximate date of filing lawsuit:

            7.     Approximate date of disposition:

            8.     Were you allowed to proceed informa pauperis (without prepayment of
                   fees)?                                       Yes          No


       B.   While incarcerated or detained in any facility, have you brought any lawsuits in
            federal court which deal with facts other than those involved in this action?
                                                                        Yes           No

            Ifyour answer toB isyes, describe each lawsuit inthe space below. (Ifthere ismore
            than onelawsuit, describe theadditional lawsuits on another piece ofpaper, usingthe
            same outline.)

            1.     Parties to previous lawsuit:

I
                   Plaintiffs:

I                  Defendants:



            2.     Court (namethe district):



            3.     Docket number:

            4.     Name of judge assigned to case:

            5.     Disposition
                   (for example, was the case dismissed? appealed? isitstill pending?):


            6.     Approximate date of filing lawsuit;
                                               2
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               7.      Appioximate date of disposition:

               8.      Were you allowed to proceed in forma pauperis (without prepayment of
                       fees)?                                        Yes          No


        C.     As to any lawsuit filed in federal court where you were allowed to proceed informa
               pauperis, was any smt dismissed on the ground that it was frivolous, malicious, or
               &iled to state a claim?                                    Yes           No



               1.     Ifyour answer to C is yes, name the court and docket nimiber for each case:




11.     Placeof present confinement;                •        :       >            • /                 /
                                                                                ^7//         C^^ ^n
                                                                                             7        itt
        A.     Is therea prisoner grievance procedurein this institution? Yes      No

        B.     Did you present the facts relating to your complaint to the appropriate grievance
               committee?                                                Yes       No

        C.     If your answer to B is yes:

               1.     What steps did you take?




               2.     What was the result?.
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                 3.       Did you appeal any adverse decision to the highest level possible in the
                          administrative procedure?                        Yes       No

                          If yes, what was the result?




       D.        Ifyou did not utili^the prison grievance procedure, explain why not:       / /I        J

                  the-                                        ^ ^C.                         Uy
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III.   Parties                       7

                 (InItem A below, listyour name as plaintiffandcurrent address. Provide the name
                 and address of any additional plaintiffs on an attached sheet.)

       A. Nameofpl
          Address:
                   aintiff; JO.^ AOL      ^       ^i/
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                 (InItem Bbelow, list the defendant's full name, position, place ofemployment, and
                 current addrp-ss. Provide the same information for any additional defendants in Item
                 C below.)

       B. Name   ofdefendant:
          Position:
                                                         ^ I^Qcl,
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                                                                                   ^WA
                                                                                                   i^ ,
                 Place ofemployment:          1/6. K »v <v4 C.he^Tn^h\—g.-/                                 c-c^
                 Current address:                                     —_—



       C.        Additional defendants:                                - (^/V.
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IVi     Statement of Claim

               State here as briefly as possible the FACTS in your case. Describe how each
               dgfenti^nt is personally involved in the depriving you of your rights. You must
               include relevant times, dates, places, and names of witnesses. DO NOT GIVE
               LEGAL ARGUMENTS OR CITE ANY CASES OR STATUTES. If you intend to
               allege a number of related claims, number and set forth each claim in a separate
               paragraph. (Use asmuch space as you need. Attach extra sheets if necessary.)
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        Relief
                 State briefly exactly what you want the court to do for you.          Make no legal
                 arguments. Cite no cases or statutes.

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I declare under penalty of pequrythat the foregoing is true and correct.

       Signed this       I day of                                        <j / ^


Prisoner No. (PlhOj^oJ 7 J
                                                     (Signature of Plaintiff)
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